                               Case 1:16-bk-00002                      Document No. 5                 Filed 02/09/16        Page 1 of 10
                                                                                                                                      FILED
                                                                                                                                         Clerk
                                                                                                                                     DistriCt Court
 Fill in this information to identify your case and this filing:


 Debtor 1              Donald                        R.
                                                                                                                                   FEB —9 2016
                        First Name                 Middle Name                  Last Name

 Debtor 2               Sarah                        A.                   Browne                                           for the Northern Mariafla Islands
 (Spouse, if filing)    First Name                 Middle Name                  Last Name
                                                                                                                            B~Cierk)
 United States Bankruptcy Court ~rr t a’ District of Northern Mariana Islands

 Casenumber                                    ~ 0 00 0                                                                                         LI Check if this is an
                                                                                                                                                     amended filing

  Official Form IO6AIB
  Schedule A/B: Property                                                                                                                                        12/15

  In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
  category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
  responsible for supplying correct information, If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known). Answer every question.

•.n~ Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No.GotoPart2.
      LI Yes. Where is the property?
                                                                        What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                        LI    Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
        1.1.
                Street address, if available, or other description
                                                                        LI    Duplex or multi-unit building
                                                                         LI   Condominium or cooperative                   Current value of the      Current value of the
                                                                         LI   Manufactured or mobile home                  entire property?          portion you own?
                                                                         LI   Land                                         $_______                  $_______

                                                                         LI   Investment property
                                                                         LI   Timeshare                                    Describe the nature of your ownership
                 City                            State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                         LI   Other                                        the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                         LI   Debtor 1 only
                 County                                                  LI   Debtor 2 only
                                                                         LI   Debtor 1 and Debtor 2 only                   LI Check if this is community property
                                                                                                                               (see instructions)
                                                                         LI   At least one of the debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number: ________________________________
       If you own or have more than one, list here:
                                                                        What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                        LI    single-family home                           the amount of any secured claims on Schedule D:
         1.2.                                                                                                              Creditors Who Have Claims Secured by Prope~i.
                                                                        LI    Duplex or multi-unit building
                 Street address, if available, or other description
                                                                        LI    Condominium or cooperative                    Current value of the     Current value of the
                                                                        LI    Manufactured or mobile home                   entire property?         portion you own?
                                                                        LI    Land                                          $_______                 $_______

                                                                        LI    Investment property
                                                                        LI    Timeshare
                                                                                                                            Describe the nature of your ownership
                 City                            State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                        LI    Other                                         the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        LI    Debtor 1 only
                  County                                                LI    Debtor 2 only
                                                                        LI    Debtor 1 and Debtor 2 only                    LI Check if this is community property
                                                                        LI    At least one of the debtors and another           (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number: ________________________________


    Official Form 106A/B                                                 Schedule NB: Property                                                                page 1
                           Case 1:16-bk-00002                              Document No. 5                  Filed 02/09/16                 Page 2 of 10

 Debtor 1           Donald                               R.                      Browne                            Case number (if krrmva(_
                    First Name     Middle Name                 Last Name




                                                                           What is the property? Check all that apply.                  Do not deduct secured claims or exemptions. Put
                                                                           LI     Single-family home                                    the amount of any secured claims on Schedule D:
     1.3.                                                                                                                               Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description            LI     Duplex or multi-unit building
                                                                           LI     Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                                        entire property?         portion you own?
                                                                           LI     Manufactured or mobile home
                                                                           LI     Land                                                  $_______                 $_______


                                                                           LI     Investment property
                                                                                                                                        Describe the nature of your ownership
             City                                State        ZIP Code     LI     Timeshare
                                                                                                                                        interest (such as fee simple, tenancy by
                                                                           LI     Other                                                 the entireties, or a life estate), if known.
                                                                           Who has an interest in the property? Check one.
                                                                            LI   Debtor 1 only
             County
                                                                            LI   Debtor 2 only
                                                                            LI   Debtor 1 and Debtor 2 only                             LI    Check if this is community property
                                                                                                                                              (see instructions)
                                                                            LI   At least one of the debtors and another

                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number: ________________________________


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                              $_________________

    you have attached for Part 1. Write that number here




•~i’~ Describe Your Vehicles


 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executo,y Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     Li     No
            Yes

     3.1.     Make:                         Mazda                           Who has an interest in the property? Check one.              Do not deduct secured claims or exemptions. Put
                                                                                                                                         the amount of any secured claims on ScheduleD:
              Model:                        6                                     Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                            2015                            LI    Debtor 2 only
              Year:                                                                                                                      Current value of the      Current value of the
                                                                            LI    Debtor 1 and Debtor 2 only
                                                                                                                                         entire property?          portion you own?
              Approximate mileage:                                          LI    At least one of the debtors and another
              Other information:
                                                                             LI Check if this     is community property (see             $         17,710.00       $____________


                                                                                  instructions)



     If you own or have more than one, describe here:

                                                                            Who has an interest in the property? Check one.              Do not deduct secured claims or exemptions. Put
      3.2.    Make:                         Audi
                                                                                                                                         the amount of any secured claims on Schedule D:
              Model:                        TT                                    Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                             LI   Debtor 2 only
              Year:                         2008                                                                                          Current value of the     Current value of the
                                                                             LI   Debtor 1 and Debtor 2 only
                                                                                                                                          entire property?         portion you own?
              Approximate mileage:         ____________
                                                                             LI   At least one of the debtors and another
              Other information:
                                                                             LI Check       if this is community property (see            $         8,849.00       $          8,849.00
                                                                                   instructions)




   Official Form IO6AIB                                                          Schedule AIB: Property                                                                    page 2
                      Case 1:16-bk-00002                           Document No. 5                  Filed 02/09/16                 Page 3 of 10

Debtor 1      Donald                              R.                     Browne                            Case number (,fk,rsw4_
               First Name       Middle Name            Last Name




   3.3.    Make:
                                       Infiniti                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:                      Fx35                           Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                       2008                        D Debtor 2 only
           Year:                                                                                                              Current value of the         Current value of the
                                                                   ~ Debtor 1 and Debtor 2 Only
                                                                                                                              entire property?             portion you own?
           Approximate mileage:                                    IJ At least one of the debtors and another
           Other information:
                                                                    ~ Check if this is community property (see                $            9,724.00        $_____________


                                                                      instructions)


           Make:                                                   Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                              the amount of any secured claims on ScheduleD:
           Model:                                                        Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                                                    LI   Debtor 2 only
           Year:                                                                                                              Current value of the         Current value of the
                                                                    LI   Debtor 1 and Debtor 2 only
                                                                                                                              entire property?             portion you own?
           Approximate mileage:                                     LI   At least one of the debtors and another
           Other information:
                                                                    LI Check if this     is community property (see            $_______                    $_______


                                                                         instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ~No
   LI Yes

                                                                    Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
    4.1.   Make:      __________________
                                                                                                                               the amount of any secured claims on Schedule D:
           Model:     __________________
                                                                    LI   Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                    LI   Debtor2 only
           Year:      ____________
                                                                    LI   Debtor 1 and Debtor 2 only                            Current value of the        Current value of the
           Other information:                                       LI   At least one of the debtors and another               entire property?            portion you own?

                                                                    LI Check if this is community property (see                $_______                        $_______
                                                                         instructions)



    If you own or have more than one, list here:
                                                                    Who has an interest in the property? Check one.               Do not deduct secured claims or exemptions. Put
    4.2.    Make:     __________________
                                                                                                                                  the amount of any secured claims on Schedule D:
            Model:                                                  LI Debtor 1 only                                              Creditors Who Have Claims Secured by Property.
                                                                    LI Debtor 2 only
            Year:     ___________                                                                                                 Current value of the         Current value of the
                                                                    LI Debtor 1 and Debtor 2 only                                 entire property?             portion you own?
            Other information:                                      LI At least one of the debtors and another

                                                                    LI Check if this     is community property (see               $_______                     $_______


                                                                         instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here
                                                                                                                                                          LI          36,283.00       I


  Official Form 1 O6AIB                                               Schedule NB: Property                                                                           page 3
                              Case 1:16-bk-00002                 Document No. 5            Filed 02/09/16                 Page 4 of 10

 Debtor 1           Donald                         R.              Browne                          Case number (,fk,~o~w,l_
                     First N~r,~e   M~ddIe N~n~e        Last ~




•fli~~ Describe Your Personal and Household Items

                                                                                                                                     Current value of the
 Do you own or have any legal or equitable interest in any of the following items?                                                   portion you own?
                                                                                                                                     Do not deduct secured claims
                                                                                                                                     or exemptions.

 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
       ~No
       ~ Yes. Describe                                                                                                                 $                 500.00

 7.     Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                     collections; electronic devices including cell phones, cameras, media players, games
        ~No
        ~ Yes. Describe                                                                                                                $                 250.00

 8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    ~No
    Li Yes. Describe                                                                                                                   $                       0.00

 9.     Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments
        ~No
        Li Yes. Describe                                                                                                               $                       0.00

 10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        ~No
        Li Yes. Describe                                                                                                               $
  liClothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        LiNo
        ~I Yes. Describe                                                                                                               $                 250.00

  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                  gold, silver
        LiNo
        ~ Yes. Describe                                                                                                                $               1,000.00
  13. Non-farm       animals
        Examples: Dogs, cats, birds, horses
         ~No
         Li Yes. Describe                                                                                                              $

  14. Any       other personal and household items you did not already list, including any health aids you did not list
         ~No
         LI Yes. Give specific                                                                                                        : $
            information
      15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                    2,000.00
         for Part 3. Write that number here                                                                                      ~    L

      Official Form 106A/B                                        Schedule Al8: Property                                                              page 4
                           Case 1:16-bk-00002                          Document No. 5            Filed 02/09/16         Page 5 of 10

 Debtor   1        Donald                          R.                     Browne                      Case number (fk~o~v,~)____________________________________
                    First N~rne    Middte N~n~e           Last Nan~e




•~T~ Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                            Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured claims
                                                                                                                                        or exemptions.

 16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

    ~No
          Yes                                                                                                       Cash                  $                 250.00


 17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                and other similar institutions, If you have multiple accounts with the same institution, list each.
    ~No
    ~I Yes                                                               Institution name:


                                    17.1.   Checking account:            _______________________________________________________          $___________________



                                    17.2. Checking account:              ___________________________________________________________      $____________________



                                    17.3. Savings account:               ___________________________________________________________      $____________________



                                    17.4. Savings account:               ___________________________________________________________       $____________________



                                     17.5. Certificates of deposit:                                                                        $____________________



                                     17.6. Other financial account:                                                                        $_____________________



                                     17.7. Other financial account:                                                                           $___________________



                                     17.8. Other financial account:                                                                           $____________________



                                     17,9. Other financial account:      ___________________________________________________________          $____________________




  18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     ~No
     ~ Yes                           Institution or issuer name:

                                                                                                                                              $_______________________


                                                                                                                                              $________________________


                                                                                                                                              $_______________________




  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
      an LLC, partnership, and joint venture
               No                    Name of entity:                                                                 % of ownership:
     D        Yes. Give specific                                                                                     0%          ~            $_________________

              information about                                                                                      no?
              them                   ___________________________________________________________                       ‘°                     $_________________


                                     __________________________________________                                      0%          ~            $_____________




   Official Form I 06A/B                                                 Schedule NB: Property                                                            page 5
                     Case 1:16-bk-00002                         Document No. 5            Filed 02/09/16                Page 6 of 10

Debtor 1     Donald                           R.                  Browne                        Case number If knmwr)
              First Name     Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   ~No
   Li Yes. Give specific     Issuer name:
      information about
      them                                                                                                                         $
                                                                                                                                   $
                                                                                                                                   $

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   LiNo
      Yes. List each
       account separately.    Type of account:          Institution name:

                              401(k) or similar plan:   Donald                                                                     $       27,000.00
                              Pension plan:                                                                                        $
                              IRA:                                                                                                 $
                              Retirement account:                                                                                  $
                              Keogh:                                                                                               $
                              Additional account:       401(k) Sarah                                                               $       153,000.00
                              Additional account:                                                                                  $


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
    ~No
    Li Yes                                          Institution name or individual:
                              Electric:                                                                                            $
                              Gas:                                                                                                 $
                               Heating oil:                                                                                        $
                               Security deposit                                                                                    $
                               Prepaid rent:                                                                                       $
                               Telephone:                                                                                          $
                               Water:
                                                                                                                                   $
                               Rented furniture:
                                                                                                                                   $
                               Other:
                                                                                                                                   $

 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    ~No
    Li Yes                     Issuer name and description:
                                                                                                                                   $
                                                                                                                                   $
                                                                                                                                       $

  Official Form I 06A/B                                           Schedule NB: Property                                                      page 6
                          Case 1:16-bk-00002                       Document No. 5            Filed 02/09/16            Page 7 of 10

Debtor 1         Donald                       R.                     Browne                         Case number (fkn~n)____________________________________
                  First N~n~e   Midd’e Name          L~t   N~rne




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §~ 530(b)(1), 529A(b), and 529(b)(1).
   ~iNo
   U Yes                                Institution name and description, separately file the records of any interests.11 U.S.C.   § 521(c):

                                                                                                                                               $_______________________


                                                                                                                                               $_____________________


                                                                                                                                               $_______________________




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit
   ~No
       U   Yes. Give specific
           information about them.,..                                                                                                          $____________________




26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       ~No
       U   Yes. Give specific
           information about them....                                                                                                          $____________________




27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ~No
       U   Yes. Give specific
           information about them....                                                                                                          $____________________




Money or property owed to you?                                                                                                                 Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.

28. Tax refunds owed to you
       ~JNo
       U   Yes. Give specific information                                                                           Federal’               $___________________

                about them, including whether
                you already filed the returns                                                                       State:                 $___________________

                and the tax years
                                                                                                                    Local:                 $____________________




 29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       ~No
       U   Yes. Give specific information
                                                                                                                   Alimony:                     $___________________


                                                                                                                    Maintenance:                $___________________


                                                                                                                    Support:                    $___________________


                                                                                                                    Divorce settlement:         $_________________


                                                                                                                    Property settlement:        $____________________



 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else
       ~No
       U    Yes. Give specific information
                                                                                                                                                $____________________________




  Official Form 106A/B                                               Schedule NB: Property                                                                  page 7
                           Case 1:16-bk-00002                        Document No. 5                 Filed 02/09/16                Page 8 of 10

 Debtor 1        Donald                             R.                 Browne                                Case number (fke~n)______________________________________
                  First Name          Middle Name        Last Name




31. Interests in insurance policies
   Examples:      Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

    ~No
    ~2I   Yes. Name the insurance company                Company name:                                          Beneficiary:                              Surrender or refund value:
                of each policy and list its value.
                                                         Union Central Life Insurance                          ______________________                     $________________



                                                         ___________________________________________________   _________________________________          $________________________


                                                         ___________________________________________________    _________________________________         $________________________



32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
    ~No
    D     Yes. Give specific information
                                                                                                                                                          $_________________________




33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    ~No
    ~ Yes. Describe each claim


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    ~No
    L1      Yes. Describe each claim
                                                                                                                                                          $_________________________




35. Any financial assets you did not already list

    ~No
    U Yes. Give specific information                                                                                                                      $____________________




 36. Add the dollar value of all of your entries from Part 4 including any entries for pages you have attached
     for Part 4. Write that number here                                                                                                        4           $         180,250.00


~ Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business~related property?
     ~      No.GotoPart6.
     U      Yes. Go   to   line 38.
                                                                                                                                                         Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                         or exemptions.

 38. Accounts receivable or commissions you already earned
     ~No
     U      Yes. Describe
                                                                                                                                                         $__________________________



 39. Office equipment, furnishings, and supplies
     Examples:    Business-related computers, software, modems, printers, copiers, fax   machines, rugs, telephones, desks, chairs, electronic devices
     ~No
     U      Yes. Describe                                                                                                                                $______________________




  Official    Form   106A/B                                            Schedule NB: Property                                                                           page 8
                        Case 1:16-bk-00002                      Document No. 5            Filed 02/09/16              Page 9 of 10

Debtor 1        Donald                         R.                 Browne                      Case number (fksorvs)
                 First Name      Middle Name        Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   ~No
   EJ    Yes. Describe                                                                                                            S


41.lnventory
   ~No
    Li Yes. Describe                                                                                                              S


42. Interests in partnerships or joint ventures
   ~No
   Li Yes. Describe              Name of entity:                                                                % of ownership:
                                                                                                                ______%           $
                                                                                                                ______%           $
                                                                                                                         %        $

43. Customer lists, mailing lists, or other compilations
    ~No
    Li Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C.     §   101 (41A))?
               LiNo
               Li Yes. Describe
                                                                                                                                      $

44. Any business-related property you did not already list
    ~No
    Li Yes. Give specific                                                                                                             $
       information
                                                                                                                                      $
                                                                                                                                      $
                                                                                                                                      $
                                                                                                                                      $
                                                                                                                                      $
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                        $                      0.00
    for Part 5. Write that number here                                                                                        4



                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
    Li     Yes. Go to line 47.
                                                                                                                                      Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured claims
                                                                                                                                      or exemptions.
 47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
    ~No
    LiYes

                                                                                                                                          $


  Official Form 106A/B                                            Schedule NB: Property                                                             page 9
                    Case 1:16-bk-00002                       Document No. 5                Filed 02/09/16            Page 10 of 10

 Debtor 1     Donald                        R.                     Browne                         Case number
               First Name     Middle Name        Last Name




48. Crops—either growing or harvested
    ~No
    ~ Yes. Give specific
      information

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    ~No
    D Yes
                                                                                                                                               $
so. Farm and fishing supplies, chemicals, and feed
    ~No
    U Yes
                                                                                                                                               S

 51.Any farm- and commercial fishing-related property you did not already list
    ~No
    U Yes. Give specific
      information                                                                                                                              s
 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                               $                     0.00
     for Part 6. Write that number here



•~i~’~ Describe All Property You Own or Have an Interest in That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

    ~No
    Li Yes. Give specific                                                                                                                          $
       information                                                                                                                                 $   ___________________


                                                                                                                                                   $_____________________




 54. Add the dollar value of all of your entries from Part 7. Write that number here
                                                                                                                                           I       $                0.00


  •.:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2                                                                                                .)       $                  0.00

 56. Part 2: Total vehicles, line 5                                             $        36,283.00

 57. Part 3: Total personal and household items, line 15                        $         2,000.00

 58. Part 4: Total financial assets, line 36                                    $       180,250.00

 59. Part 5: Total business-related property, line 45                           $              0.00
                                                                                    ________________




 60. Part 6: Total farm- and fishing-related property, line 52                  $              0.00

 61. Part 7: Total other property not listed, line 54                       +   $              0.00

  62. Total personal property. Add lines 56 through 61                          $       218,533.00     Copy personal property total   + +$                  218,533.00


  63. Total of all property on Schedule NB. Add line 55       +   line 62
                                                                                                                                               H            218,533.00
                                                                                                                                                   _________________




   Official Form 106A/B                                           Schedule NB: Property                                                                        page 10
